Case 1:22-cr-20051-FAM Document 19 Entered on FLSD Docket 06/01/2022 Page 1 of 7
                                                                                             KA
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                                                                     May 31, 2022
                             22-CR-20051-MORENO(S)
                               CASE NO.                                                        Miami


                                      18 u.s.c. § 2119(1)
                                      18 U.S.C. § 982(a)(5)


  UNITED STATES OF AMERICA

  vs.


  DWAYNE COLEY and
  ANTMAURI SMITH,

                 Defendants.
  -------------
                                 SUPERSEDING INDICTMENT

         The Grand Jury charges that:

                                             COUNTl
                                            Carjacking
                                         (18 u.s.c. § 2119)

         On or about September 28, 2020, in Miami-Dade County, in the Southern District of

  Florida, the defendant,

                                        DWAYNE COLEY,

  with the intent to cause death and serious bodily harm, did take a motor vehicle that had been

  transported, shipped, and received in interstate and foreign commerce, that is, a 2013 Honda

  Accord, from the person and presence of another, that is "R.B." by force and violence, and by

  intimidation, in violation of Title 18, United States Code, Sections 2119(1).

                                             COUNT 2
                                            Carjacking
                                         (18 u.s.c. § 2119)

         On or about October 22, 2020, in Miami-Dade County, in the Southern District of Florida,

  the defendants,
Case 1:22-cr-20051-FAM Document 19 Entered on FLSD Docket 06/01/2022 Page 2 of 7




                                   D W A YN E C O LEY and
                                   A N TM AU RI SM ITH ,


 with the intentto cause death and seriousbodily hnrm,did take a m otor vehicle thathad been

 transported,shipped,and received in interstate and foreign com merce,that is,a 2015 Honda

 Accord,from the person and presence ofanother,thatisdW .L.''by force and violence,and by

 intimidation,inviolationofTitle 18,United StatesCode,Sections211941)and2.
                              FORFEITURE ALLEGATION:
               The allegations ofthis Superseding Indictm entare hereby re-alleged and by tllis

 reference fully incorporated herein forthepurpose ofalleging forfeitureto the United States of

 Am erica of certain property in wlzich the defendant,DW AYNE COLEY and ANTM AIJRI

 SM ITH hasan interest.

        2.     Upon conviction ofaofviolation ofTitle 18,UnitedStatesCode,Section2119,as

 alleged in this Superseding Indictm ent, the defendant shall forfeit to the U nited States any

 property,realorpersonal,which representsoristraceableto thegrossproceedsobtained,directly

 or indirectly, as a result of such offense,ptlrsuant to Title 18,United States Code,Section

 982(a)(5).
Case 1:22-cr-20051-FAM Document 19 Entered on FLSD Docket 06/01/2022 Page 3 of 7




             Al1pursuantto Title 18,United StatesCode,Sections982(a)(5),andtheproceduresset
 forth in Title21,UnitedStatesCode,Section 853,asincorporatedby Title 18,United StatesCode,

  Section982(b)(1).


                                                   A TRU E BILL


                                                   FO REPER SON
                      '
                          .

                              d         q
 JU    A N TON IO O M EZ
 UN ITED STA TES A ORN EY

         '
      ..,.




  TEP       . EM AN OV ICH
 A SSI TA N T UN ITED STA TES A TTORN EY
      Case 1:22-cr-20051-FAM Document 19 Entered on FLSD Docket 06/01/2022 Page 4 of 7
                                    IJNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                           CASE NO.:22-CR-20051-M oreno(s)
V.
D W AYNE COLEY and                                  CERTIFICATE OF TIUAL ATTOO EY*
ANTM AURISM ITH,
                                       /            Superseding C ase Inform ation:
                   Defendants.
CourtDivision (selectone)                          New Defendantts)(YesorNo)Yes
     Z M iami     L Key W est E'
                               Z FTP               N um ber ofN ew D efendants 1
     ICIFTL       L.W PB                           Totalnlzm berofN ew Cotm ts 1

Ido hereby certifythat:
  1. 1have carefully considered the allegations ofthe indictm ent,thenumberofdefendants,the numberof probable
       witnessesandthelegalcom plexitiesofthelndictment/lnformation attached hereto.
       1am awarethattheinformation supplied on thisstatem entwillberelied upon by theJudgesofthisCourtin setting
       theircalendarsandscheduling criminaltrialsunderthemandateofthe SpeedyTrialAct,Title28U.S.C.j3161.
       lnterpreter:(YesorNo)No
       Listlanguageand/ordialect:
 4.    Thiscasewilltake      daysforthe partiesto try.

       Pleasecheck appropdate category and type ofoffense listed below :
       (checkonlyone)                       (Checkonlyone)
       1     Z 0to 5days                EIPetty
       11    E-
              :1 6to 10days             L M inor
       III   L'11to20days               L
                                        ..M isdemeanor
       IV    D 21to60days               z
                                        ,,Felony
       V     L161daysandover

       HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)No
       Ifyes,Judge                                 Case N o.
       Hasacomplaintbeenûledin thismatter?(YesorNo)
       Ifyes,M agistrateCaseNo.                            '
 8. Doesthiscaserelateto apreviously filedmatterintllisDistrictCourt?(YesorNo)Yes
       lfyes,Judge M oreno                         Case N o.22-cr-20051-FA M
 9. Defendantts)infederalcustodyasofM arch 1,2022
 10. Defendantts)in statecustody asof
  11. Rule20 from the                 Districtof
  12. Isthisapotentialdeathpenaltycase?(YesorNo)No
  13. D oes thiscase originate from a m atterpending in the N orthern Region ofthe U .S.Attorney'sO ffice
       priortoAugust8,2014(M ag.JudgeShnniekM aynard?(YesorNo)No
       D oes thiscase originate from a m atterpending in the CentralR egion ofthe U .S.Attorney'sO ffice
       priortoOctober3,2019(Mag.JudgeJared Strauss?(YesorNo)No


                                                    jjy:
                                                               Stephen      em anovich
                                                               A ssistantU nited StatesA ttorney
                                                               FLA B a. rN o.     61120
    Case 1:22-cr-20051-FAM Document 19 Entered on FLSD Docket 06/01/2022 Page 5 of 7




                              UM TED STATES DISTRIC T CO U RT
                                 SO U TH ER N D ISTR IC T O F FLO R ID A

                             CASE NUM BER:22-CR-20051-Moreno(s)
                                      BOND RECO M M ENDATION



DEFENDANT:DW ayne Coley

                 Pre-TrialDetention
             (PersonalSuretyl(CorporateStlrety)(Cash)(Pre--
                                                          frialDetention)




                                                 By:
                                                        A     : Stephen J.Demanovich




LastKnown Address:TG K

                       JailNo 200151457



W hatFacility:




Agentts):              CrystalEschelman
                      (FBI) (SECRET SERVICE) (DEA) (IRS) (ICE) (OTHER)
                       ATF
    Case 1:22-cr-20051-FAM Document 19 Entered on FLSD Docket 06/01/2022 Page 6 of 7




                              UM TED STA TES D ISTR ICT C O UR T
                                 SO U TH ER N DISTRICT O F FLO R IDA

                             CASE NUMBER:22-CR-20051-Moreno(s)
                                      B O N D R EC O M M END A TIO N



DEFENDANT:Antm auriSm ith

                 Pre-TrialDetention
             (PersonalSlzretyl(CorporateStlretyl(Cash)(Pre-TrialDetention)




                                                 R y:        W
                                                        AU       .   tephen J.Dem anovich




LastKnown Address:M iam iPTDC

                       JailNo 200148428



W hatFacility:




Agentts):             CrystalEschelman
                      (FBI) (SECM T SERVICE) (DEA) (IRS) (ICE) (OTHER)
                       ATF
Case 1:22-cr-20051-FAM Document 19 Entered on FLSD Docket 06/01/2022 Page 7 of 7




                            IJNITED STATES DISTRICT COURT
                            SO U TH ER N D ISTRIC T O F FLO R IDA

                                        PENALTY SH EET

 D efendant's N am e: D W AY NE C O LEY

 C ase N o:22-C R-20051-M
                        -   o  - not
                            - re   s)
 Cotmts#:1and2

  Carjaclcing
  Title18,UaitedStatesCode,Section211941)

  * M ax.Term ofIm prisonm ent:15 years
 *M andatoryM in.Term ofImprisonment(ifapplicable):none
 * M ax.Supervised R elease:3 years
 *M ax.Fine: $250,000




 Wltefersonly topossibleterm ofincarceration,doesnotincludepossiblefines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
